      Casebelow
The order  19-00402-SMT
                 is herebyDoc 11 Filed 06/25/19
                           signed.                 Entered 06/25/19 12:54:29   Desc Main
                                 Document       Page 1 of 2
Signed: June 25 2019




                                            _____________________________
                                            S. Martin Teel, Jr.
                                            United States Bankruptcy Judge


                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLUMBIA

       In re                                )
                                            )
       KATHRYN FELICIA GROEGER              )     Case No. 19-00402
       WILDT,                               )     (Chapter 13)
                                            )     Not for publication in
                         Debtor.            )     West’s Bankruptcy Reporter.

                          MEMORANDUM DECISION AND ORDER
                      CONFIRMING THAT THE AUTOMATIC STAY IS
                 NOT IN EFFECT PURSUANT TO 11 U.S.C. § 362(A)(4)

            AJX Mortgage Trust II, a Delaware Trust, Wilmington Savings

       Fund Society FSB, Trustee, parties in interest in this case, have

       filed a Motion for Confirmatory Order Pursuant to 11 U.S.C.

       Sections 362(c)(4)(A)(i) and (c)(4)(A)(ii) That There Was No

       Automatic Stay in Effect or Imposed by the Filing of this

       Bankruptcy Case (Dkt. No. 10), wherein they seek a confirmation

       order under 11 U.S.C. § 362(c)(4)(A)(ii) that the automatic stay

       is not in effect pursuant to § 362(c)(4)(A)(i).             Under

       § 362(c)(4)(A)(i), if a debtor has had two pending cases

       dismissed within one year prior to filing a another case, the

       automatic stay “shall not go into effect upon the filing of the

       later case.”    Under § 362(c)(4)(A)(ii), “on request of a party in
Case 19-00402-SMT                                                                                    Doc 11           Filed 06/25/19 Entered 06/25/19 12:54:29   Desc Main
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interest, the court shall promptly enter an order confirming that

no stay is in effect.”

                              This is the debtor’s third case within a one year period.

The debtor’s first case, Case No. 18-00764, was dismissed on

December 27, 2018, and the debtor’s second case, Case No. 19-

00090, was dismissed on March 12, 2019.                                                                                                    The third case was filed

on June 21, 2019, making it the third case, after two prior cases

had been dismissed within the preceding year. It is thus

                              ORDERED that the Motion for Confirmatory Order Pursuant to

11 U.S.C. Sections 362 (c)(4)(A)(i) and (c)(4)(A)(ii) That There

Was No Automatic Stay in Effect or Imposed by the Filing of this

Bankruptcy Case (Dkt. No. 10) is GRANTED.                                                                                                    It is further

                              ORDERED that the automatic stay of § 362(a) is not in effect

pursuant to § 362(c)(4).

                                                                                                                                        [Signed and dated above.]

Copies to: Debtor (by hand-mailing); recipients of e-notice of
orders.




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                                                                                                                                2
